Case 2:19-cv-21732-MCA-LDW Document 14 Filed 03/02/20 Page 1 of 5 PageID: 180



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                              )
 YORK CAPITAL MANAGEMENT, L.P.,               )
 et al.,                                      )
                                              )   ECF Case
                         Plaintiffs,          )   Document Electronically Filed
                                              )
                                              )
            v.                                )
                                              )   Civil Action No. 2:19-cv-21732-MCA-LDW
                                              )
 PERRIGO CO., PLC, et al.,                    )
                                              )
                         Defendants.          )
                                              )

                        STIPULATION AND [PROPOSED] ORDER

       WHEREAS, on December 20, 2019, plaintiffs filed a complaint (ECF No. 1, or the

“Complaint”) in the above-captioned action (the “Action”);

       WHEREAS, the Action has been designated as related to Roofers’ Pension Fund v. Papa,

et al., No. 2:16-cv-2805-MCA-LDW (the “Consolidated Class Action”);

       WHEREAS, the Complaint involves claims, allegations, and parties that significantly

overlap with the claims, allegations, and parties described in the June 21, 2017 Amended

Complaint for Violation of the Federal Securities Laws in the Consolidated Class Action (the

“Amended Complaint”);

       WHEREAS, the defendants in the Consolidated Class Action moved to dismiss the

Amended Complaint (the “Motions to Dismiss”);

       WHEREAS, on July 27, 2018, the Court in the Consolidated Class Action issued an

opinion granting in part and denying in part the Motions to Dismiss (2018 WL 3601229) (the

“July 27, 2018 Decision”);
Case 2:19-cv-21732-MCA-LDW Document 14 Filed 03/02/20 Page 2 of 5 PageID: 181



       WHEREAS, the parties seek entry of an order replicating any issues resolved by the July

27, 2018 Decision;

       WHEREAS, the Complaint involves claims, allegations, and parties that significantly

overlap with the claims, allegations, and parties described in the operative complaints in Mason

Capital L.P., et al. v. Perrigo Company PLC, et al., No. 2:18-cv-01119-MCA-LDW; Pentwater

Equity Opportunities Master Fund Ltd., et al., v. Perrigo Company PLC, et al., No. 2:18-cv-

01121-MCA-LDW; Hudson Bay Master Fund Ltd., et al. v. Perrigo Company PLC, et al., No.

2:18-cv-16206-MCA-LDW; WCM Alternatives: Event-Driven Fund, et al. v. Perrigo Company

PLC, et al., No. 2:18-cv-16204-MCA-LDW (collectively, the “Individual Actions”); Discovery

Global Citizens Master Fund, Ltd, et al. v. Perrigo Company PLC, et al., No. 2:19-cv-21502-

MCA-LDW; and Burlington Loan Management DAC (F/K/A/ Burlington Loan Management

Limited v. Perrigo Company PLC, et al., No. 2:20-cv-01484-MCA-LDW;

       WHEREAS, discovery is ongoing in the Consolidated Class Action and in the Individual

Actions; and

       WHEREAS, the parties have agreed that Defendants shall answer, rather than move to

dismiss, the Complaint on or before March 31, 2020.

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by the parties

hereto, through their undersigned counsel, as follows:

       1.      By entering into this stipulation, Defendants accept service of the summons and

Complaint in the Action and expressly preserve all rights, claims and defenses, including, but not

limited to, all defenses relating to jurisdiction, other than a defense as to the timeliness and

sufficiency of service of the summons and Complaint and the form of the summons.

       2.      The issues and arguments raised in the briefing in connection with the Motions to



                                                  2
Case 2:19-cv-21732-MCA-LDW Document 14 Filed 03/02/20 Page 3 of 5 PageID: 182



Dismiss in the Consolidated Class Action shall not be re-briefed in this Action but rather, for

purposes of judicial efficiency, shall be treated as if such issues and arguments had been raised in

motion(s) to dismiss in this Action and had been resolved in a similar fashion to the way those

issues and arguments were resolved in the July 27, 2018 Decision, including, but not limited to,

the determinations by the Court in the Consolidated Class Action to “dismiss Plaintiff’s claims

regarding the Tysabri royalty stream without prejudice” and “dismiss the claims related to

organic growth without prejudice.”

       3.      Paragraphs 65-76 of the Complaint, including any adjoining footnotes, are

withdrawn without prejudice.

       4.      Defendants shall answer the Complaint on or before March 31, 2020.

       5.      Discovery shall be coordinated with discovery in the Consolidated Class Action

and shall proceed in accordance with the discovery schedule and discovery coordination plan

agreed to by the parties to the Individual Actions and entered by the Court. See Mason at ECF

Nos. 50, 70; Pentwater at ECF Nos. 52, 72; Hudson Bay at ECF Nos. 10, 54; WCM Alternatives

at ECF Nos. 13, 58.

       6.      Plaintiffs’ initial disclosures under Rule 26(a)(1) shall be due on or before April

15, 2020.

       7.      In light of paragraphs 5 and 6 herein above, the Court will not schedule or

conduct an Initial Scheduling Conference in the Action.



Dated: March 2, 2020


WHIPPLE AZZARELLO, LLC                            GREENBAUM ROWE SMITH & DAVIS
                                                    LLP
_/s/_John A. Azarello__________                   _/s/_Alan S. Naar________
John A. Azzarello                                 Alan S. Naar

                                                 3
Case 2:19-cv-21732-MCA-LDW Document 14 Filed 03/02/20 Page 4 of 5 PageID: 183



161 Madison Avenue                               99 Wood Avenue South
Suite 325                                        Iselin, New Jersey 08830
Morristown, NJ 07960                             Telephone: (732) 549-5600
(973) 267-7300                                   Facsimile: (732) 549-1881
azzarello@whippleazzarellolaw.com                anaar@greenbaumlaw.com

LABATON SUCHAROW LLP                             FRIED, FRANK, HARRIS, SHRIVER &
Serena P. Hallowell (pro hac vice to be filed)     JACOBSON LLP
Michael P. Canty (pro hac vice to be filed)      James D. Wareham (pro hac vice to be filed)
Eric J. Belfi (pro hac vice to be filed)         James E. Anklam (pro hac vice to be filed)
David J. Schwartz (pro hac vice to be filed)     801 17th Street, NW
140 Broadway                                     Washington DC 20006
New York, NY 10005                               Telephone: (202) 639-7000
(212) 907-0700                                   Facsimile: (202) 639-7003
shallowell@labaton.com                           james.wareham@friedfrank.com
mcanty@labaton.com                               james.anklam@friedfrank.com
ebelfi@labaton.com
dschwartz@labaton.com                            Samuel P. Groner (pro hac vice to be filed)
                                                 One New York Plaza
Attorneys for Plaintiffs                         New York, New York 10004
                                                 Telephone: (212) 859-8000
                                                 Facsimile: (212) 859-4000
                                                 samuel.groner@friedfrank.com

                                                 Counsel for Defendant Perrigo Company plc

                                                 GIBSON, DUNN & CRUTCHER LLP

                                                 _/s/ Marshall R. King_______________
                                                 Reed Brodsky (pro hac vice to be filed)
                                                 Aric H. Wu (pro hac vice to be filed)
                                                 Marshall R. King
                                                 200 Park Avenue
                                                 New York, New York 10016-0193
                                                 Telephone: (212) 351-4000
                                                 Facsimile: (212) 351-4035
                                                 rbrodsky@gibsondunn.com
                                                 awu@gibsondunn.com
                                                 mking@gibsondunn.com

                                                 Counsel for Defendant Joseph C. Papa

                                                 SULLIVAN & CROMWELL LLP

                                                 _/s/ Brian T. Frawley____________
                                                 John L. Hardiman (pro hac vice to be filed)


                                                 4
Case 2:19-cv-21732-MCA-LDW Document 14 Filed 03/02/20 Page 5 of 5 PageID: 184



                                      Brian T. Frawley
                                      Michael P. Devlin (pro hac vice to be filed)
                                      125 Broad Street
                                      New York, NY 10004
                                      (202) 558-4000
                                      hardimanj@sullcrom.com
                                      frawleyb@sullcrom.com
                                      devlinm@sullcrom.com

                                      Counsel for Defendant Judy L. Brown


SO ORDERED THIS ____ DAY OF _____________, 2020



                                            ______________________________
                                             Hon. Leda D. Wettre, U.S.M.J.




                                     5
